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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
            Plaintiff,                  )
                                        )
      v.                                )      CASE NO.: 2:19-MC-3900-WKW
                                        )                 [WO]
GLENN EDWARD NUTT,                      )
                                        )
            Defendant,                  )
                                        )
MORGAN STANLEY,                         )
                                        )
            Garnishee.                  )

                                      ORDER
      Pursuant to the Recommendation of the Magistrate Judge (Doc. # 17), which has

been adopted by the court (Doc. # 18), it is ORDERED that Defendant’s motion to

dissolve (Doc. # 6) and motion for hearing (Doc. # 11) are DENIED.

      DONE this 28th day of September, 2020.

                                          /s/ W. Keith Watkins
                                       UNITED STATES DISTRICT JUDGE
